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          United States Court of Appeals
               for the Fifth Circuit                                              United States Court of Appeals
                                                                                           Fifth Circuit

                                  ____________                                           FILED
                                                                                  October 10, 2023
                                   No. 23-40032                                     Lyle W. Cayce
                                  ____________                                           Clerk

Brian Chancey,

                                                                 Plaintiff—Appellant,

                                         versus

BASF,

                                            Defendant—Appellee.
                  ______________________________

                  Appeal from the United States District Court
                      for the Southern District of Texas
                            USDC No. 3:22-CV-34
                  ______________________________

Before King, Willett, and Douglas, Circuit Judges.
Per Curiam:*
      Plaintiff Brian Chancey asserts various claims under the Americans
with Disabilities Act (ADA), 42 U.S.C. § 12101 et seq., alleging that his
current employer, BASF Corporation, discriminated against him while
enforcing a workplace COVID-19 policy. The district court dismissed
Chancey’s claims with prejudice. We AFFIRM.




      *
          This opinion is not designated for publication. See 5th Cir. R. 47.5.
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                                      I
       Chancey has worked as an “I/E engineer” for BASF in Freeport,
Texas, since June 2020. He alleges that, in August 2021, BASF began
enforcing a COVID-19 policy in compliance with EEOC guidance. The
policy entailed masking requirements, inquiries about vaccine status, social
distancing, handwashing, and temperature checks. Believing these measures
to be ineffective, Chancey declined to abide by them and requested that he
be able to continue to work on site. Chancey also expressed concerns about
the policy to multiple supervisors and BASF’s human resources department,
questioning how BASF could impose “a medical intervention” on him and
inquiring whether alternative protective measures were available. BASF
opened an investigation into Chancey’s complaints and separated him from
other employees for the duration of that investigation.
       According to Chancey, once BASF completed its investigation, it
instituted a number of “accommodations,” including “demanding [he]
remain 6 feet away from co-workers; refusing him access to the work space,
his office, the staff room, and rest rooms; making him work remotely; limiting
room occupancy; segregating [him] to a part of the work space; [and]
implementing ‘first contact protocols’ and ‘quarantine’ without due
process.” Chancey also alleges that BASF began treating him as a “safety
hazard” and “direct threat” due to his vaccination status, requesting that he
submit to weekly COVID testing at his own expense and endure “enhanced
quarantine measures.”
       Based on these and other allegations, Chancey sued BASF for
disability discrimination under the ADA, accusing BASF of regarding him
as if he had an “impaired immune system and an impaired respiratory
system.” See 42 U.S.C. § 12102(1)(C) (defining disability as “being regarded
as having” a physical or mental impairment). BASF moved to dismiss




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Chancey’s claims under 12(b)(6) of the Federal Rules of Civil Procedure.
The district court granted the motion and dismissed Chancey’s claims with
prejudice. Chancey timely appealed.
                                         II
         “We review the grant of a motion to dismiss under Rule 12(b)(6) de
novo, ‘accepting all well-pleaded facts as true and viewing those facts in the
light most favorable to the plaintiffs.’” Meador v. Apple, Inc., 911 F.3d 260,
264 (5th Cir. 2018) (quoting Dorsey v. Portfolio Equities, Inc., 540 F.3d 333,
338 (5th Cir. 2008)). “To survive a motion to dismiss, a complaint must
contain sufficient factual matter . . . to ‘state a claim to relief that is plausible
on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.
Corp. v. Twombly, 550 U.S. 544, 570 (2007)). We “do not accept conclusory
allegations, unwarranted deductions, or legal conclusions.” Southland
Securities Corp. v. INSpire Ins. Solutions, Inc., 365 F.3d 353, 361 (5th Cir.
2004).
                                        III
         Chancey argues that the district court erred by dismissing his
discrimination, retaliation, and medical-examination claims with prejudice.
We address each argument in turn.
                                         A
         In his first claim, Chancey alleges that BASF discriminated against
him based on a “perceived disability.” Through its COVID policy, Chancey
complains, BASF regarded him as having “a deadly and contagious disease
or that he had an impaired immune system or an impaired respiratory
system.” BASF’s perception of a disability was further evidenced, Chancey
says, by its insistence that he wear a mask and isolate himself from other
employees.




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       The ADA permits suits not only by those who are actually disabled
but also those who are “regarded as” disabled. See 42 U.S.C. § 12102(1)(A)–
(C). To state a claim for employment discrimination under the “regarded as”
prong of the ADA, Chancey must establish that he was “subjected to an
action prohibited under [the ADA] because of an actual or perceived physical
or mental impairment whether or not the impairment limits or is perceived
to limit a major life activity.” Burton v. Freescale Semiconductor, Inc., 798 F.3d
222, 230 (5th Cir. 2015) (alteration in original) (quoting 42 U.S.C.
§ 12102(3)(A)). BASF argues, and the district court held, that merely being
at risk of developing a condition is insufficient to state a disability-
discrimination claim under the ADA.
       We agree. At least three other circuits have reached the same
conclusion in analogous contexts. See, e.g., Darby v. Childvine, Inc., 964 F.3d
440, 446 (6th Cir. 2020) (holding that a condition “that might lead to a
disability in the future” or a condition that “merely predisposes an individual
to other conditions . . . is not itself a condition under the ADA”); Shell v.
Burlington N. Santa Fe Ry. Co., 941 F.3d 331, 336 (7th Cir. 2019) (holding that
the “fear” of developing an ADA-qualifying condition based on an
underlying condition was insufficient); Equal Emp. Opportunity Comm’n v.
STME, LLC, 938 F.3d 1305, 1318 (11th Cir. 2019) (holding that the EEOC
failed to state a “regarded as” claim based on an employer’s belief that an
employee would “contract Ebola in the future”). Chancey makes no effort
to distinguish that authority or otherwise provide any reason why we should
depart from it. Seeing none ourselves, we cannot conclude that the district
court erred by dismissing Chancey’s discrimination claim.
                                        B
       Chancey next contends that the district court erred by dismissing his
claims that BASF unlawfully required medical examinations and made




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inquiries about his “perceived” disability. See 42 U.S.C. § 12112(d)(4)(A)
(“A covered entity shall not require a medical examination and shall not
make inquiries of an employee as to whether such employee is an individual
with a disability . . . .”). Much like his briefing, Chancey’s amended
complaint below contains only passing and conclusory references to medical
examinations and inquiries. He does not state that he was ever subjected to
such examinations or inquiries—and indeed, by all indications, it appears
Chancey successfully resisted them. His primary complaint—that BASF
regarded him as a having a disability despite never conducting an
“individualized assessment”—is consistent with that fact. These allegations
are thus insufficient to state a claim for unlawful imposition of medical
examination and inquiries. See Southland Securities Corp., 365 F.3d at 361.
                                      C
       Chancey also argues that BASF unlawfully retaliated against him for
objecting to its COVID-19 policy and for filing charges of discrimination
with the EEOC. See 42 U.S.C. § 12203(a) (“No person shall discriminate
against any individual because such individual has opposed any act or
practice made unlawful by” the ADA). Chancey alleges that BASF’s
retaliatory acts took a number of different iterations:

       [BASF] created false employment records stating that
       [Chancey] was “a safety hazard” without assessment via a
       written safety violation warning; [BASF] threatened to accuse
       [Chancey] of “abandoning his job” while preventing him
       access to the job site; [Chancey] was threatened with
       termination on several occasions and given deadlines for
       termination such as January 4, 2022 and February 1, 2022;
       [Chancey] was refused access to job site, his office, the break
       room and rest rooms; [Chancey] was repeatedly coerced by
       management to undertake accommodations for a perceived,
       yet undiagnosed disability; [BASF] continued to harass




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       [Chancey] despite [Chancey] claiming protected opposition
       status by filing an EEOC charge; [BASF] threatened
       [Chancey] with incurring extra costs for weekly “antigen
       testing” at his own expense that other employees did not incur;
       and [BASF’s] ADA compliance officer refused to mitigate the
       retaliation or aid and encourage [Chancey] in enjoying his
       rights protected under the ADA.
       Confusingly, Chancey also asserts that BASF’s COVID-19 policy
was itself retaliation. In any event, none of these allegations, even if true,
amounts to a claim of retaliation. They are all either conclusory, petty slights,
or actions we have otherwise held not to be “materially adverse.” See
Hamilton v. Dallas Cnty., No. 21-10133, —F.4th—, 2023 WL 531616, at *7
(5th Cir. 2023) (“de minimis workplace trifles” are not actionable). The
same goes for the allegation Chancey stresses most in his briefing—threat of
termination. See Credeur v. Louisiana, 860 F.3d 785, 798 (5th Cir. 2017).
                                       D
       Chancey lastly argues that the district court erred by dismissing his
claims with prejudice. He emphasizes that he is not a lawyer and that the
district court ought to have given him leave to amend his pleadings to correct
the deficiencies in his amended complaint. We disagree.
       True, district courts must grant leave to amend “freely,” Chitimacha
Tribe of La. v. Harry L. Laws Co., Inc., 690 F.2d 1157, 1162 (5th Cir. 1982),
and must have a “substantial reason” to deny a request for leave to amend.
Jamieson v. Shaw, 772 F.2d 1205, 1208 (5th Cir. 1985). Ultimately, though,
“[d]ecisions concerning motions to amend are ‘entrusted to the sound
discretion of the district court.’” Jones v. Robinson Property Grp., L.P., 427
F.3d 987, 994 (5th Cir. 2005) (quoting Quintanilla v. Tex. Television, Inc., 139
F.3d 494, 499 (5th Cir. 1998)). And a district court acts within its discretion




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to deny leave to amend if, for example, amending the complaint would be
futile. Id.
        That appears to be the case here. Chancey has already amended his
complaint once, and we do not doubt that he has put his best case forward, as
evidenced by the nine-page affidavit and the 128 pages of exhibits attached to
his nineteen-page complaint. More importantly, though, under the district
court’s local rules, Chancey was already given a chance to amend his
complaint after a pre-motion conference with BASF—which he expressly
refused. Chancey does not argue that the district court’s motion procedure
is unfair, see Bazrowx v. Scott, 136 F.3d 1053, 1054 (5th Cir. 1998), nor can we
conclude that it was based on our independent review of the record. The
district court thus properly dismissed Chancey’s claims with prejudice.
                                      IV
        Chancey failed to state plausible claims of discrimination under the
ADA for his “perceived” disability, and the district court did not err in
dismissing them with prejudice.
        AFFIRMED.




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